






NUMBER 13-00-644-CV

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

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LINDA ROBICHEAUX , Appellant,


v.


JOHN BOLUBASZ A/K/A JOHN BLASS AND CINDY BOLUBASZ BLASS , Appellees.

____________________________________________________________________


On appeal from the 234th  District Court

of Harris County, Texas.

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O P I N I O N

Before Chief Justice Valdez and Justices Hinojosa and Yañez

Opinion Per Curiam


Appellant, LINDA ROBICHEAUX , perfected an appeal from a judgment entered by the   234th District Court of Harris
County, Texas, in cause number 9942284 .  No clerk's record has been filed due to appellant's failure to pay or make
arrangements to pay the clerk's fee for preparing the clerk's record.  

If the trial court clerk fails to file the clerk's record because the appellant failed to pay or make arrangements to pay the
clerk's fee for preparing the clerk's record, the appellate court may dismiss the appeal for want of prosecution unless the
appellant was entitled to proceed without payment of costs. Tex. R. App. P. 37.3(b).

On December 15, 2000 , notice was given to all parties that this appeal was subject to dismissal pursuant to Tex. R. App. P.
37.3(b).  Appellant was given ten days to explain why the cause should not be dismissed.  To date, no response has been
received from appellant. 

The Court, having examined and fully considered the documents on file, appellant's failure to pay or make arrangements to
pay the clerk's fee for preparing the clerk's record,  this Court's notice, and appellant's failure to respond, is of the opinion
that the appeal should be dismissed for want of prosecution.  The appeal is hereby DISMISSED FOR WANT OF
PROSECUTION.

PER CURIAM



Do not publish.

Tex. R. App. P. 47.3.



Opinion delivered and filed

this the 28th  day of June,  2001.






